Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ALABAMA

Case number (if known)                                                     Chapter      11
                                                                                                                        o Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Soul Heaven Cafe, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  3365 Moffet Road Ste A
                                  Mobile, AL 36607
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Mobile                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.soulheavencafe.com/home.html


6.   Type of debtor               n Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o Partnership (excluding LLP)
                                  o Other. Specify:




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Debtor    Soul Heaven Cafe, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       o Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       o Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       o Railroad (as defined in 11 U.S.C. § 101(44))
                                       o Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       o Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       o Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       n None of the above
                                       B. Check all that apply
                                       o Tax-exempt entity (as described in 26 U.S.C. §501)
                                       o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       o Chapter 7
     A debtor who is a “small          o Chapter 9
     business debtor” must check       n Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                           n The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            n    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            o    A plan is being filed with this petition.
                                                            o    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            o    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            o    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       o Chapter 12
9.   Were prior bankruptcy             n No.
     cases filed by or against
     the debtor within the last 8      o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Soul Heaven Cafe, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases               n No
    pending or being filed by a
    business partner or an                 o Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             n No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          o Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                  o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                  o It needs to be physically secured or protected from the weather.
                                                  o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  o Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                  o No
                                                  o Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                               o Funds will be available for distribution to unsecured creditors.
                                               n After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                n 1-49                                          o 1,000-5,000                              o 25,001-50,000
    creditors                                                                          o 5001-10,000                              o 50,001-100,000
                                       o 50-99
                                       o 100-199                                       o 10,001-25,000                            o More than100,000
                                       o 200-999

15. Estimated Assets                   n $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                       o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                       o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                       o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion

16. Estimated liabilities              o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                    Case 23-11742                   Doc 1        Filed 08/03/23 Entered 08/03/23 09:30:35                               Desc Main
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Debtor   Soul Heaven Cafe, LLC                                                        Case number (if known)
         Name


                             n $50,001 - $100,000                      o $10,000,001 - $50 million             o $1,000,000,001 - $10 billion
                             o $100,001 - $500,000                     o $50,000,001 - $100 million            o $10,000,000,001 - $50 billion
                             o $500,001 - $1 million                   o $100,000,001 - $500 million           o More than $50 billion




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Debtor    Soul Heaven Cafe, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Lillie A. McCoy                                                        Lillie A. McCoy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Registered Agent




18. Signature of attorney    X /s/ Frances Hoit Hollinger                                                  Date August 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Frances Hoit Hollinger HOLLF4824
                                 Printed name

                                 Frances Hoit Hollinger, LLC
                                 Firm name

                                 Post Office Box 2028
                                 Mobile, AL 36652-2028
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (251) 432-8878                Email address      FranHollinger@aol.com

                                 HOLLF4824 AL
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                           o Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       n       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       n       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       n       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       n       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       n       Schedule H: Codebtors (Official Form 206H)

       n       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       o       Amended Schedule
       n       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       o       Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 3, 2023                  X /s/ Lillie A. McCoy
                                                           Signature of individual signing on behalf of debtor

                                                            Lillie A. McCoy
                                                            Printed name

                                                            Registered Agent
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:
 Debtor name Soul Heaven Cafe, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                           o Check if this is an
                                                ALABAMA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alabama                                             Taxes                                                                                                       $11,728.40
 Department of
 Revenue
 Legal Division
 P.O. Box 320001
 Montgomery, AL
 36132
 Alabama                                             Commercial                                             $29,049.56                 $28,000.00                  $2,108.48
 Department of                                       Kitchen
 Revenue                                             Equipment
 Legal Division
 P.O. Box 320001
 Montgomery, AL
 36132
 City of Mobile                                      Food Tax                                                                                                      $2,282.20
 Revenue
 Department
 PO Box 3065
 Mobile, AL
 36652-3065
 Gray - WALA                                         Outstanding                                                                                                   $1,275.00
 1801 Halstead Blvd                                  Balance
 Tallahassee, FL
 32309
 Gulf Coast Gasket                                   Outstanding                                                                                                     $314.00
 Guy                                                 Balance
 8722 Rand Avenue
 Suite A
 Daphne, AL 36526
 Lift Fund                                           Loan                                                                                                          $9,924.14
 2007 West Martin
 Street
 San Antonio, TX
 78207




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Soul Heaven Cafe, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Lift Fund                                           Restaurant and                                           $9,924.14                 $6,000.00                  $3,924.14
 2007 West Martin                                    Kitchen Supplies
 Street
 San Antonio, TX
 78207
 Mobile County                                       Sales Tax                                                                                                         $70.25
 License
 Commissioner
 Mobile County
 Courthouse
 PO Box 161009
 Mobile, AL
 36616-2009
 Moffett Road Center,                                Lease                                                                                                         $9,580.00
 LLC
 PO Box 1565
 Lawrenceville, GA
 30046
 Performance Food                                    Outstanding                                                                                                   $8,597.56
 Group, Inc.                                         Balance
 PO Box 932478
 Atlanta, GA
 31193-2478




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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 Fill in this information to identify the case:

 Debtor name            Soul Heaven Cafe, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                                                                   o Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $          41,101.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $          41,101.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $          40,034.62


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          14,080.85

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$          29,690.70


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             83,806.17




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                                o Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     o No. Go to Part 2.
     n Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     All in Credit Union                               Checking                              7414                                        $200.00




           3.2.     All in Credit Union                               Savings                               7106                                           $1.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $201.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     o No. Go to Part 3.
     n Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Alabama Power Deposit                                                                                                               $700.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1


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                  Name




           7.2.     Mobile Area Water and Sewer System Deposit                                                                      $300.00




           7.3.     Republic Services Deposit                                                                                       $100.00




           7.4.     Comcast Cable Deposit                                                                                           $100.00




           7.5.     Gas Deposit                                                                                                     $200.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                    $1,400.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

     n No. Go to Part 4.
     o Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

     n No. Go to Part 5.
     o Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     o No. Go to Part 6.
     n Yes Fill in the information below.
           General description                Date of the last       Net book value of      Valuation method used      Current value of
                                              physical inventory     debtor's interest      for current value          debtor's interest
                                                                     (Where available)

19.        Raw materials
           Raw food inventory                                                      $0.00                                          $3,500.00



20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           Restaurant and Kitchen
           Supplies                                                                $0.00                                          $6,000.00



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                  page 2

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Debtor       Soul Heaven Cafe, LLC                                                          Case number (If known)
             Name


23.       Total of Part 5.                                                                                                             $9,500.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
          o No
          n Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
          n No
          o Yes. Book value                               Valuation method                              Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
          n No
          o Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   n No. Go to Part 7.
   o Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   o No. Go to Part 8.
   n Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used      Current value of
                                                                         debtor's interest          for current value          debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer, printer, fax machine, desk, and
          office chair                                                                    $0.00                                           $1,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
          n No
          o Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
          n No
          o Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   o No. Go to Part 9.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 3

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Debtor        Soul Heaven Cafe, LLC                                                        Case number (If known)
              Name


   n Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used      Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Commercial Kitchen Equipment                                                  $0.00                                          $28,000.00


           Tables and chairs                                                             $0.00                                           $1,000.00



51.        Total of Part 8.                                                                                                         $29,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
           n No
           o Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
           n No
           o Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

   n No. Go to Part 10.
   o Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   n No. Go to Part 11.
   o Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   n No. Go to Part 12.
   o Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 4

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Debtor          Soul Heaven Cafe, LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $201.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,400.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $9,500.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $29,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $41,101.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $41,101.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5

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Fill in this information to identify the case:

Debtor name          Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                                     o Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      o No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      n Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Alabama Department of
2.1                                                                                                                         $1,058.92              $28,000.00
       Revenue                                      Describe debtor's property that is subject to a lien
       Creditor's Name                              Commercial Kitchen Equipment
       Legal Division
       P.O. Box 320001
       Montgomery, AL 36132
       Creditor's mailing address                   Describe the lien
                                                    Tax Lien
                                                    Is the creditor an insider or related party?
                                                    n No
       Creditor's email address, if known           o Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       n No
       2018                                         o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8482
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       o No                                         o Contingent
       n Yes. Specify each creditor,                o Unliquidated
       including this creditor and its relative     o Disputed
       priority.
       1. Alabama Department of
       Revenue
       2. Alabama Department of
       Revenue

       Alabama Department of
2.2                                                                                                                       $29,049.56               $28,000.00
       Revenue                                      Describe debtor's property that is subject to a lien
       Creditor's Name                              Commercial Kitchen Equipment
       Legal Division
       P.O. Box 320001
       Montgomery, AL 36132
       Creditor's mailing address                   Describe the lien
                                                    Tax Lien
                                                    Is the creditor an insider or related party?
                                                    n No
       Creditor's email address, if known           o Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       n No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3


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Debtor      Soul Heaven Cafe, LLC                                                                 Case number (if known)
            Name

      2017-2020                                   o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8483
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      o No                                        o Contingent
      n Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.
      Specified on line 2.1

2.3   CHTD Company                                Describe debtor's property that is subject to a lien                        $1.00      $1,000.00
      Creditor's Name                             Tables and chairs
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      n No
      2018                                        o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3951
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        n Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



      Corporation Service
2.4                                                                                                                           $1.00      $1,000.00
      Company                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Computer, printer, fax machine, desk, and
                                                  office chair
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  UCC
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      n No
      2019                                        o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3951
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        n Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.5   Lift Fund                                   Describe debtor's property that is subject to a lien                     $9,924.14     $6,000.00




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 3


                Case 23-11742                    Doc 1      Filed 08/03/23 Entered 08/03/23 09:30:35                              Desc Main
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Debtor      Soul Heaven Cafe, LLC                                                                 Case number (if known)
            Name

      Creditor's Name                             Restaurant and Kitchen Supplies
      2007 West Martin Street
      San Antonio, TX 78207
      Creditor's mailing address                  Describe the lien
                                                  Agreement
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
      1/2018                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1040
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $40,034.62

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3


                Case 23-11742                    Doc 1      Filed 08/03/23 Entered 08/03/23 09:30:35                                  Desc Main
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Fill in this information to identify the case:

Debtor name        Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                                         o Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         o No. Go to Part 2.
         n Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $11,728.40         $11,728.40
          Alabama Department of Revenue                       Check all that apply.
          Legal Division                                      o Contingent
          P.O. Box 320001                                     o Unliquidated
          Montgomery, AL 36132                                o Disputed
          Date or dates debt was incurred                     Basis for the claim:
          2005-2023                                           Taxes
          Last 4 digits of account number 3951                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                 n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              o Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,282.20        $2,282.20
          City of Mobile Revenue                              Check all that apply.
          Department                                          o Contingent
          PO Box 3065                                         o Unliquidated
          Mobile, AL 36652-3065                               o Disputed
          Date or dates debt was incurred                     Basis for the claim:
          2021-2023                                           Food Tax

          Last 4 digits of account number 6539                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                 n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              o Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
                                                                                                              28613
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Debtor       Soul Heaven Cafe, LLC                                                                      Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $70.25   $70.25
          Mobile County License                                Check all that apply.
          Commissioner                                         o Contingent
          Mobile County Courthouse                             o Unliquidated
          PO Box 161009                                        o Disputed
          Mobile, AL 36616-2009
          Date or dates debt was incurred                      Basis for the claim:
          2023                                                 Sales Tax

          Last 4 digits of account number 6539                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                  n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               o Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,275.00
          Gray - WALA                                                        o Contingent
          1801 Halstead Blvd                                                 o Unliquidated
          Tallahassee, FL 32309                                              o Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Outstanding Balance
          Last 4 digits of account number 8321
                                                                             Is the claim subject to offset?   n No o Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $314.00
          Gulf Coast Gasket Guy                                              o Contingent
          8722 Rand Avenue Suite A                                           o Unliquidated
          Daphne, AL 36526                                                   o Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Outstanding Balance
          Last 4 digits of account number 0617
                                                                             Is the claim subject to offset?   n No o Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,924.14
          Lift Fund                                                          o Contingent
          2007 West Martin Street                                            o Unliquidated
          San Antonio, TX 78207                                              o Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Loan
          Last 4 digits of account number 1040
                                                                             Is the claim subject to offset?   n No o Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,580.00
          Moffett Road Center, LLC                                           o Contingent
          PO Box 1565                                                        o Unliquidated
          Lawrenceville, GA 30046                                            o Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Lease
          Last 4 digits of account number 3649
                                                                             Is the claim subject to offset?   n No o Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,597.56
          Performance Food Group, Inc.                                       o Contingent
          PO Box 932478                                                      o Unliquidated
          Atlanta, GA 31193-2478                                             o Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Outstanding Balance
          Last 4 digits of account number 2662
                                                                             Is the claim subject to offset?   n No o Yes

Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3



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Debtor      Soul Heaven Cafe, LLC                                                                  Case number (if known)
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       James W. Martin
          Law Office of James W. Martin, P.C.                                                     Line      3.5
          2566 SHallowford Road, Ste 104-108
          Atlanta, GA 30345                                                                       o      Not listed. Explain



Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                          5a.         $                     14,080.85
5b. Total claims from Part 2                                                                          5b.    +    $                     29,690.70

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                               5c.         $                         43,771.55




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3



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Fill in this information to identify the case:

Debtor name        Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                              o Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       o No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      n Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of premises at
             lease is for and the nature of       3365 Moffett Road,
             the debtor's interest                Suite A, Mobile, AL
                                                  36607
                State the term remaining          Month to Month
                                                                                    Moffett Road Center, LLC
             List the contract number of any                                        PO Box 1565
                   government contract                                              Lawrenceville, GA 30046




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


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Fill in this information to identify the case:

Debtor name      Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                         o Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

o No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
n Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Lillie A. McCoy             1001 Belvedere Cir E                                     Lift Fund                       nD       2.5
                                      Mobile, AL 36606                                                                         o E/F
                                                                                                                               oG




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1

              Case 23-11742               Doc 1     Filed 08/03/23 Entered 08/03/23 09:30:35                              Desc Main
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Fill in this information to identify the case:

Debtor name         Soul Heaven Cafe, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF ALABAMA

Case number (if known)
                                                                                                                              o Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

     o None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                           n Operating a business                                 $65,148.50
      From 1/01/2023 to Filing Date
                                                                                      o Other


      For prior year:                                                                 n Operating a business                                $177,705.00
      From 1/01/2022 to 12/31/2022
                                                                                      o Other


      For year before that:                                                           n Operating a business                                $112,777.00
      From 1/01/2021 to 12/31/2021
                                                                                      o Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     n None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     n None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1


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Debtor       Soul Heaven Cafe, LLC                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

     n None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     n None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

     n None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

     o None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Moffett Road Center, LLC v.               Eviction action             District Court of Mobile                   n Pending
             Lillie A. McCoy                                                       205 Government Street                      o On appeal
             02-DV-2023-900318                                                     Mobile, AL 36602
                                                                                                                              o Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

     n None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

     n None
             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     n None
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2


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Debtor        Soul Heaven Cafe, LLC                                                                Case number (if known)



      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

     o None.
               Who was paid or who received                If not money, describe any property transferred              Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Frances H. Hollinger
               P O Box 2028                                $1,738.00 filing fee, $5000.00 attorney
               Mobile, AL 36652                            retainer                                                     8/2/23                    $6,738.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

     n None.
      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     n None.
              Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
              Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     n Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or

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    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     n     No. Go to Part 9.
     o     Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     n     No.
     o     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

     n     No. Go to Part 10.
     o     Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

     n None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


     n None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


     n None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    n None
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Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     n     No.
     o     Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     n     No.
     o     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

     n     No.
     o     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

     n None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          n None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          n None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
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          n None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          n None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

     n     No
     o     Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Lillie Ann McCoy                        1001 Belvedere Circle E                             Registered Agent                          100%
                                              Mobile, AL 36606



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     n     No
     o     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     n     No
     o     Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     n     No
     o     Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     n     No
     o     Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund


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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 3, 2023

/s/ Lillie A. McCoy                                             Lillie A. McCoy
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Registered Agent

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
n No
o Yes




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B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                             Southern District of Alabama
 In re       Soul Heaven Cafe, LLC                                                                            Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  5,000.00
             Balance Due                                                                                  $                        0.00

2.   $      1,738.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

             n Debtor           o Other (specify):

4.   The source of compensation to be paid to me is:

             n Debtor           o Other (specify):

5.       n I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 3, 2023                                                           /s/ Frances Hoit Hollinger
     Date                                                                     Frances Hoit Hollinger HOLLF4824
                                                                              Signature of Attorney
                                                                              Frances Hoit Hollinger, LLC
                                                                              Post Office Box 2028
                                                                              Mobile, AL 36652-2028
                                                                              (251) 432-8878 Fax: (251) 410-6159
                                                                              FranHollinger@aol.com
                                                                              Name of law firm




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                                                             Southern District of Alabama
 In re    Soul Heaven Cafe, LLC                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder




Lillie A. McCoy
1001 Belvedera Circle E
Mobile, AL 36606


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Registered Agent of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date August 3, 2023                                                      Signature /s/ Lillie A. McCoy
                                                                                        Lillie A. McCoy

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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ALSB LBF 1007 (12/19)
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF ALABAMA
   IN RE:

    Debtor(s)   Soul Heaven Cafe, LLC                             )      Case No.
                                                                  )
                                                                  )      Chapter: 11
                                                                  )


         VERIFICATION OF OFFICIAL CREDITOR LIST (INITIAL OR SUPPLEMENTAL)

                                   n Original
                                   o Amendment
                                              o Adding        o Deleting

       I hereby certify under penalty of perjury that the master mailing list of creditors attached and/or
uploaded to the Electronic Case Filing System is true, correct and complete to the best of my knowledge.

       I further acknowledge that (1) the accuracy and completeness of the creditor list are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor list for all
mailings, and (3) the various schedules and statements required by the Bankruptcy Rules are not used for
mailing purposes.

        If you are amending a previously-filed list of creditors, attach a list of only the creditor being added
or deleted and indicate below only the number of creditors being added or deleted.

                                 creditor(s) (or if amended, number of creditors added), as shown on attached list

                                 creditor(s) to be deleted, as shown on attached list
    /s/ Lillie A. McCoy
    Debtor Signature                                              Joint Debtor Signature

    /s/ Frances Hoit Hollinger                                    August 3, 2023
    Signature of Attorney                                         Date
                                                                                                      [Check if applicable]
                                                                                    o Creditors with foreign addresses included




                                                              1

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ALSB LBF 1007 (12/19)

                                UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF ALABAMA

                                OFFICIAL CREDITOR LIST GUIDELINES

The Official Creditor List must be provided to the court in electronic format and meet the requirements
below:

   ·     The name and address of each creditor must be five lines or fewer

   ·     Each line may contain no more than 40 characters including spaces

   ·     Names and addresses should be left justified (no leading spaces) with only one column of creditors

   ·     If attention lines are used, they should appear on the second line of the address

   ·     City, state, and ZIP code must be on the last line

   ·     All states must be two-letter abbreviations

   ·     If a nine-digit ZIP code is used, a hyphen must separate the first five digits from the last four digits

   ·     DO NOT include the following names on the mailing list because they will be retrieved
         automatically by the court’s computer system: debtor, joint debtor, attorney for debtor(s),
         Bankruptcy Administrator

   Attorney Filers
   Most bankruptcy preparation software packages can save the creditor list electronically in the proper
   format. Please check with your software company to see if you have this option.

   Filers without an Attorney (Pro Se Debtors)
   Filers without an attorney may submit a list of creditors to the clerk’s office.

   Verification of Creditor List
   Each submission of an Official Creditor List shall be accompanied by a cover sheet or Verification of
   Official Creditor List in the format provided by the Clerk.

   Amendments
   Amendments to the Official Creditor List shall contain only names and addresses to be added to or
   deleted from the Official Creditor List and must comply with the requirements above




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                      Alabama Department of Revenue
                      Legal Division
                      P.O. Box 320001
                      Montgomery, AL 36132

                      CHTD Company
                      PO Box 2576
                      Springfield, IL 62708

                      City of Mobile Revenue Department
                      PO Box 3065
                      Mobile, AL 36652-3065

                      Corporation Service Company
                      PO Box 2576
                      Springfield, IL 62708

                      Gray - WALA
                      1801 Halstead Blvd
                      Tallahassee, FL 32309

                      Gulf Coast Gasket Guy
                      8722 Rand Avenue Suite A
                      Daphne, AL 36526

                      James W. Martin
                      Law Office of James W. Martin, P.C.
                      2566 SHallowford Road, Ste 104-108
                      Atlanta, GA 30345

                      Lift Fund
                      2007 West Martin Street
                      San Antonio, TX 78207

                      Mobile County License Commissioner
                      Mobile County Courthouse
                      PO Box 161009
                      Mobile, AL 36616-2009

                      Moffett Road Center, LLC
                      PO Box 1565
                      Lawrenceville, GA 30046

                      Performance Food Group, Inc.
                      PO Box 932478
                      Atlanta, GA 31193-2478




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 In re   Soul Heaven Cafe, LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Soul Heaven Cafe, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




o None [Check if applicable]




August 3, 2023                                 /s/ Frances Hoit Hollinger
Date                                           Frances Hoit Hollinger HOLLF4824
                                               Signature of Attorney or Litigant
                                               Counsel for Soul Heaven Cafe, LLC
                                               Frances Hoit Hollinger, LLC
                                               Post Office Box 2028
                                               Mobile, AL 36652-2028
                                               (251) 432-8878 Fax:(251) 410-6159
                                               FranHollinger@aol.com




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